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                                                                                DISTRIC T COUR T
                                                                            U.S•AU GUSTA DIV.
                   IN THE UNITED STATES DISTRICT COURT
                                                                            2 A 12 PH 3: y 5
                 FOR THE SOUTHERN DISTRICT OF GEORGI A

                                 AUGUSTA DIVISIO N

LARRY ALBERT BUSH,                            )

               Movant,                        )

       V.                      )                      CV 105-196
                                                       (CR 197-28 )
UNITED STATES OF AMERICA,                     )

               Respondent.                    )




         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATIO N




       Movant has filed a motion to vacate, set aside, or correct his sentence under Title 28,

United States Code, Section 2255 . The motion is now before the Court for initial review

under Rule 4 of the Rules Governing Section 2255 Proceedings . For the reasons set forth

below, the Court REPORTS and RECOMMENDS that the Section 2255 motion be

DENIED, and that this civil action be CLOSED . i




I. BACKGROUND

       After movant pleaded guilty to conspiracy to distribute cocaine in violation of Title

21, United States Code, Section 846, the court sentenced him on January 16, 1998, to 26 2




     'The government has filed a motion to dismiss the Section 2255 motion . Because the
Court is denying the motion in its Rule 4 review, the government's motion to dismiss should
be DENIED as MOOT .
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months in prison . The court entered its judgment on January 23, 1998 . Movant did not

appeal his sentence .

           Movant filed the instant Section 2255 motion on November 23, 2005 . In the motion,

he claims that he was sentenced in violation of United States v. Booker , 543 U.S. 220 (2005) .




II. DISCUSSIO N

           A prisoner must file for relief under Section 2255 within one year of:

            (1) the date on which the judgment of conviction becomes final ;
            (2) the date on which the impediment to making a motion created by
            governmental action in violation of the Constitution or laws of the United
            States is removed, if the movant was prevented from making a motion by
            such governmental action ;
            (3) the date on which the right asserted was initially recognized by the
            Supreme Court, if that right has been newly recognized by the Supreme
            Court and made retroactively applicable to cases on collateral review; or
            (4) the date on which the facts supporting the claim or claims presented
            could have been discovered through the exercise of due diligence .

28 U.S.C. § 2255 . Movant's conviction became final on February 3, 1998, the date that his

ten-day period for filing a notice of appeal expired . This motion .was filed almost eight years

later .

           While movant does not raise the statute of limitations issue in his motion and did not

respond to the government ' s motion to dismiss, he may assert that his one- year limitations

period should run from the date of the Booker decision,' on which his claims rely, rather th an

the date his conviction became final . The limitations period may run from the date a right




          2Booker was decided on January 12, 2005 .

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was initially recognized by the Supreme Court and made retroactively applicable to cases on

collateral review . Id. § 2255 ¶6(3) .

        Neither the Supreme Court nor the Eleventh Circuit, however, has made Booker

retroactively applicable to cases on collateral review . See Varela v . United States , 400 F .3d

 864, 868 (11th Cir.), cert. denied, 126 S. Ct. 312 (2005) (finding Booker not to be

"watershed rule of criminal procedure" and thus not retroactively applicable on collateral

review) . As such, the Eleventh Circuit has found that "the new rule in . . . Booker is not

retroactively applicable to cases on collateral review, and, therefore, cannot trigger a later

 starting date for the statute of limitations under § 2255 ¶6(3) ." Hicks v. United States , 146

Fed . Appx . 396, 398 (11th Cir. 2005) .

        The instant Section 2255 motion was filed almost eight years after movant's

conviction became final . Because Booker has not been made retroactively applicable to

 cases on collateral review, movant's reliance on Booker does not excuse the late filing .




III. CONCLUSION

        The Court finds the instant Section 2255 motion to be untimely . The Court therefore

REPORTS and RECOMMENDS that the Section 2255 motion be DENIED, and that this

civil action be CLOSED .3




      The Court also recommends that the government's motion to dismiss , to which no
answer has been filed, be DENIED as MOOT .

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        SO REPORTED and RECOMMENDED this Iay of January, 2006, at Augusta,

Georgia .




                                      W. LEON ARFIELD
                                      UNITED TATES MAGIS'T'RATE JUDG E




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